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Haag, Andrew (USADC)

From:               Haag, Andrew (USADC)
Sent:               Friday, April 5, 2024 8:20 AM
To:                 Michaela Olson
Cc:                 LEDERER, REBEKAH (USADC); Marina Medvin, Esq.
Subject:            Government's response regarding ECF No. 136



Good morning Ms. Olson,

The government agrees that the Court can use the definition of “act of physical violence” as stated in 40 U.S.C.
§ 5104(a)(1) to define the same term in 18 U.S.C. § 1752(a)(4).

With regards to the definition of assault as it is used in § 5104(a)(1), the government’s understanding is that the
Court already ruled that the common law definition applies. Following the pretrial conference, the Court issued
an order on a variety of issues, including a ruling on the parties’ proposed definitions for “assault.” In the ruling,
the Court rejected the defendant’s “request to use the Model Penal Code’s definition of simple assault for” 18
U.S.C. §§ 111(a)(1) and 1752(a)(4), and 40 U.S.C. § 5104(e)(2)(F). ECF No. 128 at 3. The Court then
continued to adopt the common law definition of assault for all three charges. Id. at 4.

Thank you,
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